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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 vs.                                                     2:05-cr-71-FtM-99DNF

 ERICK PERRY
 _____________________________


                                OPINION AND ORDER

          This matter comes before the Court on a Motion to Suppress

 Physical Evidence and Statements of Defendant (Doc. #725) filed on

 October 31, 2006.         A Report and Recommendation (Doc. #742) was

 filed on November 13, 2006, recommending that the motion be denied.

 No objections have been filed, and the time to file objections has

 passed.

          After conducting a careful and complete review of the findings

 and recommendations, a district judge may accept, reject or modify

 the magistrate judge’s report and recommendation.                     28 U.S.C. §

 636(b()1);       Williams v. Wainwright, 681 F.2d 732 (11th Cir. 1982),

 cert. denied, 459 U.S. 1112 (1983).             A district judge “shall make

 a   de    novo   determination     of   those   portions   of    the    report   or

 specified prosed findings or recommendations to which objection is

 made.”     28 U.S.C. § 636(b)(1)(C).       This requires that the district

 judge “give fresh consideration to those issues to which specific

 objection has been made by a party.”             Jeffrey S. by Ernest S. v.

 State      Bd.   Of   Educ.   Of   Ga.,   896   F.2d   507,     512    (11th   Cir.

 1990)(quoting H.R. REP . NO. 94-1609, 94th Cong., 2d Sess., reprinted
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 in 1976 U.S.C.C.A.N. 6162, 6163).          In the absence of specific

 objections, there is no requirement that a district judge review

 factual findings de novo, Garvey v. Vaughn, 993 F.2d 776, 779 n. 9

 (11th Cir. 1993), and the court may accept, reject or modify, in

 whole or in part, the findings and recommendations.           28 U.S.C. §

 636(b)(1)(C).     The district judge reviews legal conclusions de

 novo, even in the absence of an objection.         See Cooper-Houston v.

 Southern Ry. Co., 37 F.3d 603, 604 (11th Cir. 1994); Castro

 Bobadilla v. Reno, 826 F. Supp. 1428, 1431-32 (S.D. Fla. 1993),

 aff’d, 28 F.3d 116 (11th Cir. 1994) (Table).

      Having read the transcript of the suppression hearing, the

 Court fully agrees with the findings, conclusions of law, and

 recommendations of the Report and Recommendation.          Therefore, the

 motion will be denied.

      Accordingly, it is now

      ORDERED AND ADJUDGED:

      The Report and Recommendation (Doc. #742) is accepted and

 adopted and the Motion to Suppress Physical Evidence and Statements

 of Defendant (Doc. #725) is DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this           12th    day of

 December, 2006.




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 Copies:
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